              Case: STATES
            UNITED  23-2357 COURT
                             Document:
                                  OF 6APPEALS
                                         Page: 1FORDate
                                                    THE Filed:
                                                          THIRD08/18/2023
                                                                   CIRCUIT

                          CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:
___________________________________________________________________________________
INDUSTRIA DE ALIMENTOS Zenú S.A.S. v. LATINFOOD U.S. CORP. d/b/a Zenú PRODUCTS CO. and WILSON ZULUAGA


APPEAL FROM DISTRICT COURT:
         New Jersey
District:____________________________________________________________________________
D.C. Docket No.:_____________________________________________________________________
                     2:16-CV-06576
Date proceedings initiated in D.C.:_______________________________________________________
                                          October 5, 2016
Date Notice of Appeal filed:____________________________________________________________
                                 July 27, 2023
             23-2357
USCA No.:_________________________________________________________________________
___________________________________________________________________________________
                                               COUNSEL ON APPEAL
                LATINFOOD U.S. CORP. d/b/a Zenú PRODUCTS CO. and WILSON ZULUAGA
Appellant(s):_______________________________________________________________________
                     Mark J. Ingber, Esq.
Name of Counsel:____________________________________________________________________
                        The Ingber Law Firm
Name of Party(ies):___________________________________________________________________
          30 West Mt. Pleasant Avenue, Suite 201, Livingston, NJ 07039
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Telephone No.:______________________________________________________________________
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        ingber.lawfirm@gmail.com
E-mail:_____________________________________________________________________________

For Appellee(s): *List only the names of parties and counsel who will oppose you on appeal
                  Peter D. Raymond, Esq.
Name of Counsel:____________________________________________________________________
                   WACHTEL MISSRY LLP
Name of Party(ies):___________________________________________________________________
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       PRaymond@wmllp.com


Name of Counsel:____________________________________________________________________
Name of Party(ies):___________________________________________________________________
Address:___________________________________________________________________________
Telephone No.:______________________________________________________________________
Fax No.:____________________________________________________________________________
E-mail:_____________________________________________________________________________

Is this a Cross-Appeal?                  Yes        No ✔
Appeals Docket No.:__________________________________________________________________

Was there a previous appeal in case?        Yes        No ✔
If yes, Short Title:____________________________________________________________________
Appeals Docket No.:__________________________________________________________________
Citation, if reported:__________________________________________________________________
To your knowledge Case:   23-2357
                      is there any caseDocument: 6 or
                                        now pending   Page:
                                                        about2 to beDate Filed:before
                                                                     brought    08/18/2023
                                                                                      this Court or any other
court or administrative agency which:
a) Arises from substantially the same case or controversy as this appeal?        Yes            No ✔
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?
                                                                                 Yes            No ✔
If you answered yes to either “a” or “b” please provide:
Case Name:_________________________________________________________________________
D.C. Docket No.:_____________________________________________________________________
Court or Agency:_____________________________________________________________________
Docket Number:_____________________________________________________________________
Citation, if reported:__________________________________________________________________
___________________________________________________________________________________
                                            NATURE OF SUIT
                                         (Check as many as apply)

1. FEDERAL STATUTES                                          ASSAULT/DEFAMATION
   ANTITRUST                                                 PRODUCT LIABILITY/WARRANTY
   BANKRUPTCY                                                DIVERSITY
   BANKS & BANKING                                           OTHER Specify:______________________
   CIVIL RIGHTS
   COMMERCE, ROUTES, AND TARIFFS                          3. CONTRACTS
   COMMODITIES                                               ADMIRALTY/MARITIME
   COMMUNICATIONS                                            ARBITRATION
   CONSUMER PROTECTION                                       COMMERCIAL
 ✔ COPYRIGHT                                                 EMPLOYMENT
   PATENT                                                    INSURANCE
 ✔ TRADEMARK                                                 NEGOTIABLE DISBURSEMENTS
   ELECTION                                                  OTHER Specify:______________________
   ENERGY
   ENVIRONMENTAL                                          4. PRISONER PETITIONS
   FOIA FREEDOM OF INFORMATION                               CIVIL RIGHTS
   IMMIGRATION                                               VACATE SENTENCE 2255
   LABOR                                                     HABEAS CORPUS 2254
   OSHA                                                      HABEAS CORPUS 2241
   SECURITIES                                                MANDAMUS/PROHIBITION
   SOCIAL SECURITY                                           OTHER Specify:______________________
   TAX
   EQUAL ACCESS TO JUSTICE                                5. OTHER
   OTHER Specify:______________________                      FORFEITURE
                                                             CIVIL GRAND JURY
2. TORTS                                                   ✔ TREATY Specify:_____________________
                                                                             Inter-American Convention ("IAC")
   ADMIRALTY                                                 OTHER Specify:______________________

This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this
_____
18th            August
       day of ____________________,            23
                                            20_____  .

                     /s/ Mark J. Ingber
Signature of Counsel:_________________________________________________________________
